Case 5:06-cr-50135-SMH-MLH   Document 359   Filed 04/23/07   Page 1 of 7 PageID #:
                                   1038
Case 5:06-cr-50135-SMH-MLH   Document 359   Filed 04/23/07   Page 2 of 7 PageID #:
                                   1039
Case 5:06-cr-50135-SMH-MLH   Document 359   Filed 04/23/07   Page 3 of 7 PageID #:
                                   1040
Case 5:06-cr-50135-SMH-MLH   Document 359   Filed 04/23/07   Page 4 of 7 PageID #:
                                   1041
Case 5:06-cr-50135-SMH-MLH   Document 359   Filed 04/23/07   Page 5 of 7 PageID #:
                                   1042
Case 5:06-cr-50135-SMH-MLH   Document 359   Filed 04/23/07   Page 6 of 7 PageID #:
                                   1043
Case 5:06-cr-50135-SMH-MLH   Document 359   Filed 04/23/07   Page 7 of 7 PageID #:
                                   1044
